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                        EXHIBIT A
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                                  GARY F. LYNCH
PROFESSIONAL HISTORY
Founding Partner, Carlson Lynch Sweet Kilpela & Carpenter LLP                  2004 - Present
   Representative Privacy/Data Breach MDL Cases
      Co-Lead Counsel, In re Equifax, Inc. Customer Data Security Breach Litig., MDL 2800
       (N.D. Ga.) (representing financial institution plaintiffs relating to the largest and
       potentially most damaging data breach in history)
      Executive Committee, In re Vizio, Inc. Consumer Privacy Litig., MDL No. 2693 (C.D.
       Cal.) (representing consumers against retailer that collected and sold their personally
       identifying information to third parties without the consumers’ informed consent)
      Co-Lead Counsel, In re: Home Depot, Inc., Customer Data Security Breach Litig., MDL
       No. 2583 (N.D. Ga.) (representing financial institution plaintiffs relating to breach of
       major retailer’s point of sale systems)
      Overall Five-Person Executive Committee, In re: Target Corp. Customer Data Sec.
       Breach Litig., MDL No. 2522 (D. Minn.) (representing financial institution plaintiffs
       relating to breach of major retailer’s point of sale systems)
      Plaintiffs’ Steering Committee, In re: Community Health Systems, Inc. Customer Data
       Security Breach Litig., MDL No. 2595 (N.D. Ala.) (data breach)
      Executive Committee, In re: Ashley Madison Customer Data Security Breach Litig., No.
       4:15-md-2669 (E.D. Mo.) (data breach)
   Additional Representative Privacy/Data Breach Cases
      Co-Lead Counsel, First Choice Federal Credit Union v. The Wendy’s Co., et al., No.
       2:16-cv-0506 (W.D. Pa.) (data breach)
      Chair of the Executive Committee, Midwest Am. Fed. Credit Union v. Arby’s Restaurant
       Group., Inc., No. 17-cv-00514-AT (N.D. Ga.) (data breach)
      Executive Committee, Greater Chautauqua Fed. Credit Union v. Kmart Corp., No.
       1:15-cv-02228 (N.D. Ill.) (data breach)
      Executive Committee, Bellwether Community Credit Union v. Chipotle Mexican Grill,
       Inc., No. 1:17-cv-01102 (D. Colo.) (data breach)
      Lead Counsel, Dittman et al v. UPMC, No. 43 WAP 2017 (Pa.) (employer data breach)
      Lead Counsel, Storm et al. v. Paytime, Inc., No. 14-01138-JEJ (M.D. Pa) (employer data
       breach)
      Lead Counsel, Longenecker-Wells, et al. v. Benecard Services, Inc. d/b/a Benecard PBF,
       et al., 1:15-cv-0422-WWC (M.D. Pa.) (patient data breach)
      Lead Counsel, Friske v. Bonnier Corp., 2:16-cv-12799 (E.D. Mich.) (invasion of
       privacy)
   Other Relevant Experience
      Counsel of Record for the Respondent, Genesis HealthCare Corp. v. Symczyk, 569 U.S.
       66 (2013) (5-4 Supreme Court decision regarding application of mootness principles in
       putative collective action filed under Section 216(b) of the Fair Labor Standards Act)
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      Lead Counsel, Ehrheart v. Verizon Wireless, 609 F.3d 590 (3d Cir. 2010) (defining role
       of district court in class action settlement in light of intervening change in law)
Managing Partner, Gary F. Lynch, P.C.                                             1999 - 2004

      Managed a boutique law firm with three offices in Pennsylvania, focusing on the
       representation of clients in employment related matters, particularly complex litigation

Founding Partner, Lynch & Kunkel                                                  1993 - 1999

      Founded a four-lawyer law firm with four offices in Pennsylvania, focusing on the
       representation of clients in employment-related matters, including employment
       discrimination, sexual harassment, workers’ compensation, and Social Security
       Disability

Sole Practitioner                                                                 1991 - 1993

      Sole practitioner of law with a focus on litigation

Associate, Reed Smith Shaw & McClay, LLP                                          1989 - 1991

EDUCATIONAL HISTORY
University of Pittsburgh School of Law                                            1986 - 1989
      University of Pittsburgh Law Review, Editor
      Research Assistant to Professor Arthur D. Hellman
Penn State University                                                             1982 - 1986
      Bachelor of Science (BS), Accounting

RELAVENT SPEAKING ENGAGEMENTS (past four years—privacy related, only)
      Panelist, HarrisMartin’s Equifax Data Breach Litigation Conference, Atlanta (Nov.
       2017)
      Panelist, Current Development and Strategies for Confronting Cyber and Data Security
       Risks in 2017: ABA Annual Meeting Section of Labor and Employment Law, New York
       (Aug. 2017)
      Panelist, PBI’s Advanced Cybersecurity Law, Pittsburgh (June 2016)
      Panelist, New Jersey Association for Justice, Atlantic City (April 2015)
      Panelist, PBI’s Cybersecurity Law, Pittsburgh (April 2014)
DISTINCTIONS
      Super Lawyer® for Class Action and Mass Torts, 2014 – Present
      Martindale Hubbell “AV” rating
      Local Rules Advisory Committee Member for the United States District Court for the
       Western District of Pennsylvania
For additional information, visit www.carlsonlynch.com and www.garylynchlaw.com.
